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VIA ECF
Mr. Mark Langer
Clerk of Court
U.S. Court of Appeals for the District of Columbia Circuit
333 Constitution Avenue, NW
Washington, D.C. 20001-2866

       Re:    Grayscale Investments, LLC v. Securities and Exchange Commission, No. 22-
              1142

Dear Mr. Langer:

               Pursuant to Federal Rule of Appellate Procedure 28(j), Petitioner Grayscale
Investments, LLC writes to notify the Court that the Securities and Exchange Commission
recently allowed the first leveraged cryptocurrency exchange-traded fund (“ETF”), Volatility
Shares’ 2x Bitcoin Strategy ETF (BITX), to begin trading on June 27, 2023.

               The 2x Bitcoin Strategy ETF, which seeks to double the performance of the S&P
CME Bitcoin Futures Daily Roll Index each day, is leveraged. As a result, it exposes investors
to an even riskier investment product than traditional bitcoin futures exchange-traded products
(“ETPs”), which encompass risks related to both the futures and spot bitcoin markets. See, e.g.,
Bloomberg, Tiny Issuer to Debut the Only US Double-Bitcoin Futures ETF (June 23, 2023).
According to the ETF’s registration statement, the Fund “may only be suitable for
knowledgeable investors” who “actively manage and monitor their investments,” as “[a]n
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investor in the Fund could potentially lose the full value of their investment within a single day.”
Volatility Shares Trust, Registration Statement (Form N-1A), at 1 (Mar. 29, 2023). 1

                The fact that the Commission has allowed a leveraged bitcoin futures ETP to
begin trading demonstrates that the Commission continues to arbitrarily treat spot bitcoin ETPs
differently than bitcoin futures ETPs. See Opening Br. 23-39; Reply Br. 4-21. The 2x Bitcoin
Strategy ETF invests in CME bitcoin futures contracts, “the value of which depends on, or is
derived from, the underlying reference asset”—i.e., “bitcoin.” Registration Statement, at 18.
The 2x Bitcoin Strategy ETF is therefore exposed to even more risks of the bitcoin markets than
Grayscale’s proposed spot bitcoin ETP.

               While the Commission could theoretically correct its discriminatory treatment of
spot bitcoin ETPs by rescinding its approval of all bitcoin-based ETPs, see Oral Arg. Rec. 6:55-
8:40 (Mar. 7, 2023), the Commission’s apparent willingness to permit even a leveraged bitcoin
futures ETP—a particularly high-risk version of a bitcoin futures product—makes clear that the
Commission has no intention of doing so. Thus, the only way to eliminate the Commission’s
unequal treatment of bitcoin-based ETPs is to allow proposed spot bitcoin ETPs like Grayscale’s
to begin trading.

                                                   Very truly yours,



                                                   Donald B. Verrilli, Jr.




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 https://www.sec.gov/Archives/edgar/data/1884021/000138713123004119/btix-
485apos_032323.htm.
